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 9

10                                  UNITED STATES DISTRICT COURT

11                                NORTHERN DISTRICT OF CALIFORNIA

12                                             SAN JOSE DIVISION

13
     IN RE:                               )              Case No.
14                                        )
                                          )
15   REQUEST FOR INTERNATIONAL JUDICIAL )                [PROPOSED] ORDER GRANTING EX
     ASSISTANCE FROM THE SEOUL NORTHERN )                PARTE APPLICATION FOR ORDER
16   DISTRICT COURT IN SEOUL, REPUBLIC OF )              PURSUANT TO 28 U.S.C. § 1782
     KOREA IN MATTER OF KIM JAEMO         )
17                                        )
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     [PROPOSED] ORDER GRANTING EX PARTE APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782
     NO.
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 1          Pending before the Court is an application submitted by the United States Attorney for an order

 2 pursuant to 28 U.S.C. § 1782. The United States Attorney requests that the Court appoint Emmet P.

 3 Ong, Assistant United States Attorney, as Commissioner and authorize AUSA Ong to issue a subpoena

 4 and obtain a statement from an entity located within the jurisdiction of this Court, namely Google LLC

 5 (“Google”), in conformity with the Letter of Request issued May 13, 2024, by the National Court

 6 Administration of the Republic of Korea on behalf of the Seoul Northern District Court of Seoul,

 7 Republic of Korea (“Korea Court”), in the civil action Matter of Kim Jaemo, No. 2023KASO363902

 8 (Foreign Reference No. 2024-F-1660).

 9          The Court has reviewed the documents supporting this request for international judicial

10 assistance as attached to the Declaration of Emmet P. Ong, and the Ex Parte Application of the United

11 States, and is informed of the grounds upon which the Letter of Request and Application are based.

12          Pursuant to the power conferred on it under 28 U.S.C. § 1782, and its inherent authority, the

13 Court hereby ORDERS that AUSA Ong is appointed as Commissioner, and is authorized to serve

14 Google with a subpoena in accordance with the following terms and conditions:

15          1.      Upon receipt of the subpoena, Google shall promptly make a diligent search

16 for the information requested by the subpoena, namely:

17
            About the owners of the account [@hiayun9341, @siukim3096, @ronsanders] on
18          YouTube,
19
            1) Personal information entered at the time of registration (name, resident registration
20          number, address, email, contact information)

21          2) The phone number used to verify their YouTube channel
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            2.      Absent an objection or motion for protective order filed prior to the expiration of
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     Google’s 21-day notice period regarding the Application or subpoena served on Google, in response to
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     the subpoena, Google shall produce the information described in paragraph 1 above, to the extent it is
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     available.
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            3.      This Order does not require Google to disclose any information that would be
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     inconsistent with its obligations under the federal law including, but not limited to, the Stored
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     [PROPOSED] ORDER GRANTING EX PARTE APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782
     NO.                                     1
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 1 Communications Act.

 2          4.      Within 30 days from receipt of the subpoena by e-mail, Google shall produce the

 3 information described in paragraph 1 above, to the extent it is available, in the form of a notarized

 4 written statement signed under penalty of perjury to AUSA Ong, notwithstanding any other paragraph in

 5 this Order.

 6          5.      Google can, and is authorized to, produce the information described in paragraph 1 above

 7 directly to the Korea Court, but any responsive information must be sent to the address set forth directly

 8 below:

 9                                 National Court Administration
                                   Atten: Director of International Affairs
10                                 219 Seocho-Daero, Seocho-Gu
                                   Seoul 06590
11
                                   Republic of Korea
12
            6.      If Google produces the information described in paragraph 1 above directly to the Korea
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     Court, it must provide AUSA Ong with a certification, signed under penalty of perjury, attesting that it
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     provided the written statement described in paragraph 4 directly to the Korea Court within 10 days of
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     the statement being produced to the Korea Court.
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            7.      This Order does not preclude the United States from filing an amended application for a
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     further order authorizing an amended subpoena requesting additional information from Google in the
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     event the Korea Court requests additional information from Google after reviewing Google’s response
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     to the subpoena authorized by this Order.
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            8.      This Order does not preclude Google from filing a motion to quash or modify the
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     subpoena under any applicable Federal Rule or statute.
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            9.      The United States shall serve a copy of this Order on Google.
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            IT IS SO ORDERED.
24
     DATED:__________________
25
                                                          _____________________________________
26                                                           UNITED STATES DISTRICT JUDGE

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     [PROPOSED] ORDER GRANTING EX PARTE APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782
     NO.                                     2
